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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                      :
JAKUB MADEJ                                           :
                                                      :       CIVIL ACTION NO.
                       PLAINTIFF                      :       3:20-cv-00133-JCH
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, MARVIN CHUN,                         :
MARK SCHENKER, PETER SALOVEY AND                      :
JESSIE ROYCE HILL                                     :
                                                      :
                       DEFENDANTS                     :
                                                      :       AUGUST 24, 2020

                            MOTION FOR PROTECTIVE ORDER

       The defendant, Yale University, hereby moves for a protective order prohibiting the

plaintiff from taking the deposition of Keshav Raghavan until after the Court rules on the

defendant’s motion to quash that deposition, Docket Entry No. 143.

       On August 3, 2020, the plaintiff sent Mr. Raghavan, via certified mail to his home address,

a subpoena that commanded Mr. Raghavan to appear at a deposition on August 17, 2020 in SoHo,

New York and to produce “documents in your possession as of January 14, 2020 sufficient to

prove that Committee on Honors and Academic Standing (“Committee”) exists, as well as

documents indicating how Committee on Honors and Academic Standing operates.” (Docket

Entry No. 143-2, p. 4-5.) On August 11, 2020, the defendant moved to quash the subpoena and

notice of deposition for four separate reasons: (1) the plaintiff failed to comply with Rule 45 of the

Federal Rules of Civil Procedure; (2) the subpoena is in direct contravention of Judge Hall’s order;

(3) the subpoena and notice of deposition subject Mr. Raghavan to an undue burden; and (4) the

production requests are duplicative of the requests for production previously sent to Yale

University and Mark Schenker. (Docket Entry No. 143.) The plaintiff filed his opposition the
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following day and the defendant filed a reply on August 24, 2020. (Docket Entry Nos. 144, 150.)

The defendant’s motion to quash remains pending.

           Despite being informed on May 31, 2020 and again on August 4, 2020 that defense counsel

represented Mr. Raghavan and despite the fact that defense counsel filed a motion to quash, the

plaintiff directly contacted Mr. Raghavan by e-mail on August 17, 2020 regarding his failure to

appear for a deposition that afternoon.                (Docket Entry No. 150-2.)   Upon learning of the

inappropriate communication, defense counsel reminded the plaintiff that defense counsel

represented Mr. Raghavan and that he had filed a motion to quash the subpoena and deposition.

(Docket Entry No. 150-3.) The following day, the plaintiff sent defense counsel a letter regarding

the deposition of Mr. Raghavan.1 Notwithstanding the August 17, 2020 e-mail correspondence

between the plaintiff and defense counsel, the plaintiff claimed that neither Mr. Raghavan nor his

attorney attempted to contact the plaintiff to explain their absence from the deposition. (Ex. A, p.

2.) The plaintiff then attached a notice of deposition and subpoena for Mr. Raghavan to reschedule

his deposition for September 1, 2020 in New York. (Ex. A, p. 4-7.)

           Defense counsel responded on August 19, 2020, notifying the plaintiff that neither defense

counsel nor Mr. Raghavan would appear for a deposition in person on September 1 or at any time.2

As defense counsel has previously informed the plaintiff, defense counsel’s wife is immuno-

compromised. In addition, defense counsel has suffered from a persistent respiratory illness for

the past eight months, which may require surgery in the next weeks. Defense counsel also

reminded the plaintiff: “Furthermore, as you know, Mr. Raghavan has no information relevant to

any claim or defense in this matter. He is a student member of CHAS who recused himself from


1
    A copy of the August 18, 2020 letter is attached hereto as Exhibit A.

2
    A copy of the August 19, 2020 e-mail is attached hereto as Exhibit B.


                                                            2
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this matter because he knows you. Accordingly, he did not participate in the discussions relating

to your petition to have the involuntary withdrawal lifted. Since there is no reason to take his

deposition, I object to you requiring him to set aside seven hours to answer questions which he is

unable to answer.”3 (Ex. B, p. 1.)

         Given the plaintiff’s insistence on proceeding with Mr. Raghavan’s deposition despite the

fact that the defendant’s motion to quash the subpoena and notice of deposition is pending, the

defendant hereby requests that the Court grant this motion for a protective order and prohibit the

plaintiff from taking Mr. Raghavan’s deposition until after the Court rules on the motion to quash.4




                                                       THE DEFENDANT,

                                                       YALE UNIVERSITY


                                                 By:                 /s/
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3
  Defense counsel also informed the plaintiff that he would not proceed with depositions until after the completion of
written discovery, as contemplated by Judge Hall. (Ex. B, p. 1.) The defendants intend to move for an order regarding
the discovery process.

4
 The defendant also notes that all of the defendants filed a Motion to Dismiss on May 6, 2020. The plaintiff has
missed several deadlines to respond to that motion.


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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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